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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
AUSTIN DIVISION
CAROLINE CLARK
PLAINTIFF
V. C.A. NO. A-12-CV-007-S8

AUSTIN MONTESSORI SCHOOL, INC.

DEFENDANT

ORDER GRANTING
DEFENDANT’S MOTION FOR PARTIAL SUMMARY JUDGMENT

On this day, came on to be heard defendant Austin Montessori School, Inc.’s
motion for partial summary judgment, and, after considering the motion, the
response, if any, and the evidence on file, the Court is of the opinion that the motion
should be granted. It is therefore,

ORDERED, ADJUDGED and DECREED that defendant Austin Montessori
School, Inc.’s motion for partial summary judgment is GRANTED and that Caroline
Clark takes nothing from Austin Montessori School, Inc. under her claim against it
pursuant to the Family Medical Leave Act.

SIGNED this the day of , 2012.

U.S. DISTRICT JUDGE, SAM SPARKS

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APPROVED AS TO FORM AND SUBSTANCE:

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